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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF SOUTH DAKOTA
                              WESTERN DIVISION



RUSSELL ALLGIER,                                        CIV. 21-5026-JLV

                   Plaintiff/Counter-
                   Defendant,                     JUDGMENT OF DISMISSAL
    vs.

OPEN MORTGAGE, LLC,
                   Defendant/Counter-
                   Claimant,

    vs.

HOMESTAR FINANCIAL CORP.,
JAMEE ALLGIER and DAVID FRITZ,

                   Counter-
                   Defendants.


      Pursuant to the parties’ joint stipulation of dismissal (Docket 62), it is

      ORDERED, ADJUDGED AND DECREED that this action is dismissed

with prejudice and with each party bearing their own costs.

      IT IS FURTHER ORDERED that this court retains jurisdiction over the

settlement agreement should issues arise relating to the carrying out or

fulfillment of the settlement agreement.

      Dated September 13, 2021.

                               BY THE COURT:

                               /s/ Jeffrey L. Viken
                               JEFFREY L. VIKEN
                               UNITED STATES DISTRICT JUDGE
